289 F.2d 483
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.THREADS, INCORPORATED, Respondent.
    No. 8346.
    United states Court of Appeals Fourth Circuit.
    Argued April 14, 1961.Decided April 14, 1961.
    
      Solomon I. Hirsh, Attorney, National Labor Relations Board, Washington, D.C., for petitioner.
      J. W. Alexander, Jr., Charlotte, N.C., for respondent.
      Before SOBELOFF, Chief Judge, and HAYNSWORTH and BOREMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      On this application of the National Labor Relations Board for a decree enforcing its order against Threads, Incorporated, it was represented to us by the attorney for that company that certain provisions in the Board's order had already been complied with, and that compliance with the remaining provisions will be had upon the determination by the Board of the wages due certain employes.  We need not consider to what extent there has been compliance for, in the nature of the matter, enforcement of the Board's order will be effective only to the extent that compliance has not been completed.  We perceive in this no reason for modifying the proposed decree, which is in the usual form, especially as the Examiner's recommended order, which was adopted by the Board, was not excepted to by Threads, Incorporated.
    
    
      2
      Enforced.
    
    